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S C H I L L E R




                   12
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                   14                  UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                   15
B O I E S




                   16 BROIDY CAPITAL MANAGEMENT                      Case No. 2:18-cv-02421-JFW (Ex)
                      LLC and ELLIOTT BROIDY,
                   17                                                MEMORANDUM OF POINTS AND
                   18           Plaintiffs,                          AUTHORITIES IN SUPPORT OF
                                                                     PLAINTIFFS’ OPPOSITION TO
                   19         v.                                     DEFENDANT STATE OF QATAR’S
                   20                                                EX PARTE APPLICATION FOR
                      STATE OF QATAR, STONINGTON                     EXPEDITED HEARING ON ITS
                   21 STRATEGIES LLC, NICOLAS D.                     MOTION TO STAY DISCOVERY
                   22 MUZIN, GLOBAL RISK ADVISORS
                      LLC, KEVIN CHALKER, DAVID                      [Declaration of Lee S. Wolosky filed
                   23 MARK POWELL, MOHAMMED BIN                      concurrently herewith]
                   24 HAMAD BIN KHALIFA AL THANI,
                      AHMED AL-RUMAIHI, and DOES 1-                  The Honorable John F. Walter
                   25 10,
                   26                                                Amended Complaint: May 24, 2018
                                Defendants.
                   27
                   28
                                                                                         Case No. 18-cv-02421-JFW
                        MEMO OF P’S AND A’S ISO PLAINTIFFS’ OPPOSITION TO DEFENDANT STATE OF QATAR’S EX PARTE
                                         APPLICATION FOR EXPEDITED HEARING ON ITS MOTION TO STAY DISCOVERY
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                   1                                    ARGUMENT
                   2          Defendant State of Qatar (“Qatar”) seeks extraordinary relief for its
                   3 own acknowledged “neglect[],” Ex Parte App. at 3, ECF No. 58, in
                   4 negotiating the May 7, 2018 Order on Stipulation to Schedule for Filing
                   5 Amended Complaint and Motion to Dismiss and Order Staying Discovery,
                   6 ECF No. 46 (“Stipulation and Order”). All of the facts leading to Qatar’s
                   7 current supposed crisis were known to the parties at the time of that
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                   8 Stipulation and Order. Qatar’s current application – made 28 days after
F L E X N E R




                   9 agreeing to a schedule for the Motion to Stay – asserts that it will suffer harm
                  10 (harm that Qatar notably does not represent to be irreparable) from the
                  11 schedule it carefully negotiated with Plaintiffs. The application falls far short
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                  12 of the standard for ex parte relief and should be denied.
                  13          “Ex parte applications are solely for extraordinary relief,” Standing
                  14 Order ¶ 6, ECF No. 17, and “are “rarely justified,” Mission Power Eng’g Co.
                  15 v. Continental Cas. Co., 883 F. Supp. 488, 490 (C.D. Cal. 1995) (rejecting
B O I E S




                  16 plaintiff’s ex parte application for an order shortening the time to hear its
                  17 motion to compel the return of papers). “[E]x parte applications contravene
                  18 the structure and spirit of the Federal Rules of Civil Procedure and the Local
                  19 Rules of this Court” and “throw the system out of whack.” In re
                  20 Intermagnetics Am., Inc., 101 B.R. 191, 193 (C.D. Cal. 1989). As a result,
                  21 this Court has warned that “[l]awyers must understand that filing an ex parte
                  22 motion . . . is the forensic equivalent of standing in a crowded theater and
                  23 shouting, ‘Fire!’ There had better be a fire.” Mission Power, 883 F. Supp. at
                  24 492.
                  25          In order to justify ex parte relief, a movant must show (1) “that the
                  26 moving party is without fault in creating the crisis that requires ex parte relief,
                  27
                                                            -- 2 --               Case No. 18-cv-02421-JFW
                  28   MEMO OF P’S AND A’S ISO PLAINTIFFS’ OPPOSITION TO DEFENDANT STATE OF QATAR’S EX
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                   1 or that the crisis occurred as a result of excusable neglect;” and (2) “that the
                   2 moving party’s cause will be irreparably prejudiced if the underlying motion
                   3 is heard according to regularly noticed motion procedures.” Id.; see also
                   4 Santos v. TWC Admin. LLC., No. CV 13-04799 MMM (CWx), 2014 WL
                   5 12703021, at *1 (C.D. Cal. Sept. 15, 2014) (same). Qatar cannot make either
                   6 showing.
                   7                                           I.
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                   8          “When considering whether the party seeking ex parte relief is
F L E X N E R




                   9 without fault, the court examines the ‘creation of the crisis.’” Santos, 2014
                  10 WL 12703021, at *4 (quoting Mission Power, 883 F. Supp. at 493). Here,
                  11 Qatar created its own purported crisis. Qatar acknowledges that it “always
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                  12 intended to promptly move to stay discovery and to ensure expedited briefing
                  13 and prompt consideration of the same.” See Ex Parte App. at 3. Yet when
                  14 Qatar negotiated the Stipulation and Order permitting such a motion, it was
                  15 fully aware of the return date of July 2 on existing discovery requests, the
B O I E S




                  16 negotiated date for moving to lift the partial stay of discovery, and the
                  17 requirements of Local Rule 6-1 with respect to such a motion – and failed to
                  18 even propose an accelerated hearing.
                  19          It is well settled that “[e]x parte applications are not intended to save
                  20 the day for parties who have failed to present requests when they should
                  21 have.” Mission Power, 883 F. Supp. at 493 (citation omitted). Qatar had
                  22 ample opportunity to make a case for accelerated hearing on its pending
                  23 motion during the careful negotiations between counsel for Plaintiffs and
                  24 Defendants leading to the Stipulation and Order. Between April 26, 2018 and
                  25 May 4, 2018, the parties exchanged approximately thirty-two emails and
                  26 participated in two telephonic conference calls regarding the agreement that
                  27
                                                            -- 3 --               Case No. 18-cv-02421-JFW
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                   1 led to the Stipulation and Order, and at least twelve of those emails
                   2 specifically addressed the exact language of the stipulation itself. Declaration
                   3 of Lee S. Wolosky (“Wolosky Decl.”) ¶¶ 2-4.
                   4              Qatar not only failed to raise any issue regarding the hearing date for
                   5 its anticipated motion to stay during the negotiations with Plaintiffs’ counsel
                   6 concerning the Stipulation and Order, but it also never raised the issue during
                   7 the one-month period following the filing and entry of that order. See id. ¶¶ 2-
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                   8 7.
F L E X N E R




                   9              Qatar’s failure to show that it is without fault in the creation of the
                  10 current “crisis” (or that the “crisis” is a result of excusable neglect) is reason
                  11 alone to deny Qatar’s ex parte application.
S C H I L L E R




                  12                                              II.
                  13              This Court should also deny the requested relief because Qatar has
                  14 failed to show that it “will be irreparably prejudiced if its motion is heard on
                  15 the regular motion calendar.” Id. Qatar has not identified any previously
B O I E S




                  16 stayed discovery that now would be returnable between the requested hearing
                  17 date of June 25, 2018 and the regularly noticed hearing date of July 2, 2018.
                  18 Significantly, Plaintiffs have not served any discovery requests on Qatar, and
                  19 all of the discovery requests due on July 2 were served on U.S. persons. Qatar
                  20 has not cited any precedent for the proposition that any U.S. persons having to
                  21 respond to discovery that is allegedly protected under the Vienna Convention
                  22 constitutes irreparable harm warranting ex parte relief (and, as a threshold
                  23 matter, Qatar cites no authority whatsoever for the novel proposition that
                  24 documents in the possession of U.S. persons can be afforded diplomatic or
                  25 consular protection in the first place).1 See generally Ex Parte App. Any
                  26
                       1
                  27       Compounding matters concerning the opaque relationship between
                                                           -- 4 --              Case No. 18-cv-02421-JFW
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                   1 document production by the Stonington Defendants due on July 2, 2018 may,
                   2 in any event, be made after any hearing held on that day. Therefore, Qatar has
                   3 not fulfilled either of the two requirements that it must satisfy in order to
                   4 justify the extraordinary remedy of ex parte relief.
                   5 ///
                   6 ///
                   7 ///
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F L E X N E R




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S C H I L L E R




                  12
                     Defendant Qatar and Defendants Stonington Strategies LLC and Nicolas D.
                  13 Muzin (“Stonington Defendants”), Defendant Stonington filed a Supplemental
                  14 Statement under the Foreign Agents Registration Act (“FARA”) on May 22,
                     2018 in which Defendant Muzin represented that certain of the Stonington
                  15 Defendants’ activities that concern “Elliott Broidy, Joel Mowbray, UAE and
B O I E S




                  16 Qatar” were “not conducted on behalf of the client, Qatar, or as part of the
                     FARA engagement, but are included for avoidance of doubt.” Stonington
                  17 Supplemental Statement Pursuant to the Foreign Agents Registration Act of
                  18 1938, as amended; May 22, 2018, https://www.fara.gov/docs/6458-
                     Supplemental-Statement-20180522-1.pdf. Moreover, the August 24, 2017
                  19 Agreement between Defendant Stonington and the Embassy of Qatar filed
                  20 with the Department of Justice as part of Stonington’s FARA reporting
                     requirement provides that Stonington is “not authorized . . . to act as a[n] . . .
                  21
                     agent on behalf of the Embassy or the State of Qatar” and that “[t]his
                  22 Agreement is not intended to establish [a] . . . principal-agent relationship.”
                     Exhibit A to Registration Statement Pursuant to the Foreign Agents
                  23
                     Registration Act of 1938, as amended; September 3, 2017 (“Agreement for
                  24 Consulting Services,” August 24, 2017), https://www.fara.gov/docs/6458-
                     Exhibit-AB-20170903-1.pdf. The Agreement also makes clear that “all
                  25
                     documents, information or communications (whether verbal or recorded)
                  26 exchanged between [the Stonington Defendants] and the Embassy” are not
                     inviolable but may be disclosed “as required by law.” Id.
                  27
                                                           -- 5 --                Case No. 18-cv-02421-JFW
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                   1                                     CONCLUSION
                   2              For the foregoing reasons, Plaintiffs respectfully request that this
                   3 Court deny Defendant State of Qatar’s ex parte application for expedited
                   4 hearing on its motion to stay discovery.2
                   5
                   6                                        Respectfully submitted,
                   7
L L P




                       Dated: June 5, 2018                  BOIES SCHILLER FLEXNER LLP
                   8
                                                            By:    /s/ Lee S. Wolosky
F L E X N E R




                   9
                                                                   LEE S. WOLOSKY
                  10                                               Counsel for Plaintiffs
                  11
S C H I L L E R




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                         On June 5, 2018, the Stonington Defendants filed a Notice of Joinder in
                  24   Defendant State of Qatar’s Ex Parte Application for Expedited Hearing On Its
                       Motion to Stay, ECF No. 64, which relied on “the reasons given in Qatar’s
                  25
                       application and accompanying memorandum of points and authorities.” For
                  26   the reasons stated herein, Plaintiffs also oppose the Notice of Joinder filed by
                       the Stonington Defendants.
                  27
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